
JUSTICE SHEEHY,
concurring:
The record fails to show what influence, if any, the ex parte communication before the November 21 hearing of Gowen had on the district judge. For that reason, I agree with the Opinion.
I suppose in this work-a-day world of handling and sentencing convicted criminals, out-of-court contacts between judges and their probation officers are bound to occur. When the appearance arises, as in this case, that such a contact occurred which may have swayed the Court to change its mind, the gloss of fairness in the system, as perceived by the defendant, dissipates. I suggest to all of the judiciary that pre-sentence reports in writing, with access thereto for all counsel, without oral amplification except in open court, is by far the better way to proceed.
